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                      UNITED STATES DISTRICT COURT
                                           for the
                                 Western District of Kentucky
                                  Bowling Green Division

Timothy L. Gaddie                           )
      Plaintiff                             )
                                            )
v.                                          )     Case No.         1:17-cv-00034-GNS
                                            )
Harvest Credit Management VII, LLC          )
      Defendant                             )
                                            )

                         ORDER DISMISSING WITH PREJUDICE

       Plaintiff Timothy L. Gaddie and Defendant Harvest Credit Management VII, LLC,

having jointly stipulated that this case be dismissed with prejudice as to all claims against

Harvest Credit Management VII, LLC as evidenced by the signatures of counsel for the parties,

and the court being sufficiently advised:

       IT IS THEREFORE ORDERED that Plaintiff Timothy L. Gaddie’s claims against

Defendant Harvest Credit Management VII, LLC in this action are DISMISSED WITH

PREJUDICE, with each party to bear its own costs, expenses, and attorney’s fees except as

otherwise agreed.




                                                      Greg N. Stivers, Judge
                                                    United States District Court
                                                             April 12, 2018
